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STEPHANIE A. MINER, MAYOR

February 2, 2017
***Sent via CM/ECF***
Honorable Thérése Wiley Dancks
U.S. District Court
100 S. Clinton Street
Syracuse, New York 13261

Re: James Deferio v. City of Syracuse, et al. (5:16-cv-00361-LEK-TWD)
Dear Judge Dancks:

Defendants respectfully submit this letter, per the Court’s directive of January 20, 2017, to
provide the Court With a status report of the unsealing motion that Was pending before Syracuse
City Court.

On January 26, 2017, Defendants Were in receipt of Judge Mary Anne Doherty’s January
23, 2017 order to unseal the criminal record and proceedings related to incidents noted in Plaintiff’s
above-referenced lawsuit On January 31, 2017, Defendants filed the order and then mailed on
February l, 2017 a copy of the order reflecting the order’s receipt in Syracuse City Court to
Plaintiff’ s Counsel and counsel for the defendant in the criminal action

Defendants, however, respectfully request a conference With the Court regarding Judge
Doherty’s order. Namely, the order unseals all records related to the criminal matter for only thirty
(30) days from the signing of the order (i.e., to be resealed on February 22, 2017). When I asked
Judge Doherty’s clerk, Ms. Grimaldi, how this affected the use of the documents after the resealing
date of February 22, 2017, she deferred to this Federal District Court to determine how this Court
Wanted to handle the matter pursuant to the existing Confrdentiality Order (Which Was attached to
the City’s motion to unseal).

The City, therefore, respectfully requests a conference_under seal-to discuss the effect of
a resealing on the above-referenced case and to seek the Court’s guidance. We thank you for your
attention and consideration in this matter.

Respectfully,
/s
Todd M. Long, Esq.
Assistant Corporation Counsel
TML/ Federal Bar Roll No. 519301

CC: Mark A. Mangini, Esq. (via CM/ECFfiling)
Nathan W. Kellum, Esq. (via CM/ECFfiling)
John A. Sickinger, Esq. (vz`a C]l/[/ECFfiling)

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